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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
          Plaintiff,                         )
                                             )
v.                                           )       No. S1-4:18 CR 975 CDP
                                             )
DUSTIN BOONE,                                )
CHRISTOPER MYERS,                            )
and STEVEN KORTE,                            )
                                             )
          Defendants.                        )

                         MOTION FOR LEAVE TO FILE SEALED

          COMES NOW, the United States of America, by and through Sayler A. Fleming, United

States Attorney for the Eastern District of Missouri, and Robert F. Livergood and Carrie Costantin,

Assistant United States Attorneys for said District, and requests leave to file under seal the

“Government’s Motion to Excuse Certain Jurors” because it contains the last names of potential

jurors.

                                                 Respectfully submitted,

                                                 SAYLER A. FLEMING
                                                 United States Attorney

                                                  /s/ Robert F. Livergood
                                                 ROBERT F. LIVERGOOD, #35432MO
                                                 CARRIE COSTANTIN #35925
                                                 Assistant United States Attorneys
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                                                 St. Louis, Missouri 63102
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 29, 2021, the foregoing was filed electronically with the Clerk

to be served by operation of the Court’s electronic filing upon the following:

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                                             /s/Robert F. Livergood
                                             ROBERT F. LIVERGOOD, #35432MO
                                             Assistant United States Attorney




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